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                                    United States District Court
                                   Southern District of New York

Virginia L. Giuffre,

                  Plaintiff,                          Case No.: 15-cv-07433 -RWS

V.


Ghislaine Maxwell,

                  Defendant.
- - - - - - - - - - - - - - -I




            PLAINTIFF'S CORRECTED1 REPLY IN SUPPORT OF MOTION TO
                  EXCEED PRESUMPTIVE TEN DEPOSITION LIMIT




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  On June 13, 20 16, Ms. Giuffre filed her Reply in Support of her Motion to Exceed the Presumptive Ten Deposition
Limit (DE 203). This brief contained excerpt from• · • • • "rough" deposition transcript, as the final
transcript had not yet been completed by the stenographer. On June 14, 2016, the stenographer issued the "final"
deposition transcript, and Ms. Giuffre hereby files the final transcript citations and excerpts to replace the "rough"
transcript that accompanied her supporting Declaration (DE 204-2). There are no other changes to this document.
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       Plaintiff Virginia Giuffre , by and through her undersigned counsel, hereby files this reply

in suppo1i of her Motion to Exceed Presumptive Ten Deposition Limit. The motion should be

granted because Ms. Giuffre has shown good cause for needing to exceed the ten deposition limit

and in light of recent developments, Ms. Giuffre has streamlined her request, and now seeks only

a total of three additional depositions. Notably, while Defendant contests Ms. Giuffre 's motion,

Defendant has herself unilaterally - and without seeking any Court approval - set twelve

witnesses for deposition in this matter. In contrast to Defendant's unilateral action, Ms. Giuffre

has properly sought this Comi 's pennission. The Comi should grant her motion and allow her to

take the three additional depositions.

I.     IBE PROPOSED DEPOSITIONS ARE IMPORTANT TO THE FUNDAMENTAL
       CLAIMS AND DEFENSES IN TIDS CASE, AND NONE ARE DUPLICATIVE.

       Defendant argues that the depositions Ms. Giuffre seeks to tak e are somehow

"duplicative" of each other. Even a quick reading of the Defendant's pleading makes clear this

is untiue. Defendant repeatedly gives her own nanow view of what existing witnesses have said.

For example, Defendant argues th a t - - "did not con oborate that [Ms. Giuffre] is telling

the tiuth." Defendant's Response at 5. Defendant's characterization is untiue.2 But, as the mere




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fact of this dispute confnms, this case is going to be hotly contested and the weight of the

evidence on each side is going to be vitally impo1tant. The Comt is well aware of many other

civil cases where the patties have taken fai· more than ten depositions by mutual agreement.

Defendant's refusal to agree to a few more depositions here is simply an effo1t to keep all the

relevant facts from being developed.

       Since Ms. Giuffre filed her initial motion seeking seven additional deposition, she has

worked diligently to try to streamline the necessa1y depositions and has discovered new

info1mation concerning witnesses and their knowledge of the claims in this case. Accordingly,

Ms. Giuffre cmTently brings before this Comt a significantly sho1ter list3 of witnesses she needs

to depose to prove her claim, with some alterations. To be clear, Ms. Giuffre has naITowed her

request and is now only seeking an additional three depositions from the Comt as follows:

       For descriptions concerning the depositions ah-eady taken (Defendant;--; -

- - -; and. . . .), and those yet to be taken (Mr. Epstein;

                                                             , Ms. Giuffre references and

inco1porates her descriptions in the moving brief. The only remaining witness is - -

                 . His deposition is necessaiy for the following reason:




depositions like this - verifying Ms. Giuffre's account of being recrnited by Defendant for sex
with Epstein - that Defendant is hying avoid. However, multiple other witnesses have testimony
that suppo1ts Ms. Giuffre 's claims, in different and vai·ious ways, and Ms. Giuffre needs that
testimony to prove her defamation claim against Defendant.
3
  Ms. Giuffre is no longer seeking the deposition testimony o


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   •
                                                    , Ms. Maxwell in her deposition raised Ms.
        Giuffre 's comments about                     as one of the "obvious lies" to which she
        was refening in her public statement that fo1med the basis of this suit. Apait from the
        Defendant and Mr. Epstein,                             is a key person who can provide
        infonnation about his close relationship with Defendant and Mr. Epstein and disapprove
        Ms. Maxwell's claims.

Ms. Giuffre is still working diligently with opposing counsel, these witnesses, and their attorneys

on scheduling, as well as identifying other witnesses who may have factual infonnation about the

case. But, at this time, she seeks this Court's approval for an additional three depositions -

depositions that will not consume the full seven hours presumptively allotted.

        All three prongs of the three-factor test to evaluate a motion for additional depositions

strongly suppo1t granting the motion. Atkinson v. Goord, No. 01 CIV. 0761 LAKHBP, 2009 WL

890682, at *1 (S.D.N.Y. Apr. 2, 2009). First, as reviewed in detail on a witness-by-witness basis

above, the discove1y sought is not duplicative. The proposed deponents include the individual

who assisted in making the defainatory statement, women Defendant Maxwell hired to recrnit

girls for Jeffrey Epstein, an individual with intimate knowledge of Defendant and Epstein's

sexual trafficking ring, other victims of Jeffrey Epstein (including a then underage victim), Mr.

Epstein himself, and other witnesses who can con oborate impo1tant pieces of Ms. Giuffre 's

statements or refute Ms. Maxwell's statements and positions. These witnesses' testimony will

con oborate Ms. Giuffre 's account of Defendant being a recrniter of females for Epstein and

con oborate the type of abuse she and others suffered. Sadly, Ms. Giuffre is far from the only

one of Defendant's victims, and there ai·e other witnesses whose testimony is necessaiy in order

to demonstrate the trnth of Ms. Giuffre's claims and the falsity of the statements made by

Defendant.




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       Second, if Ms. Giuffre is denied these depositions, she will not have had the opportunity

to obtain the infonnation by other discove1y in this case. The Court will recall from Ms.

Giuffre's opening motion that Defendant's smprising lack of memory has, in no small part,

caused the need for additional depositions. See Motion at 5-8 (listing 59 examples of memory

lapses dming Ms. Maxwell deposition, including inability to remember events recorded on

aircraft flight logs or a photograph). Defendant offers no explanation for her convenient

forgetfulness. Moreover, evidence of being recrnited by Defendant and being sexually assaulted

is not something Ms. Giuffre can obtain through requests for production or through

intenogatories. The only way of obtaining such evidence is from witness testimony by those

who were victimized, those who assisted Defendant in recrniting and abuse, and those who

observed the recrniting or the abuse.




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                                                                                   --
                                               Yet Defendant has failed to produce a single photo

in this case.                                                               . Document discovery

and intenogatories are not helpful in obtaining this type of evidence: depositions ar e needed.

        Third, the bmden and expense of this proposed discovery is limited to three additional

depositions. Defendant in this case is a multi-millionaire with able counsel. Three depositions

will not cause her undue bmden, expense, or inconvenience. These depositions are impo1i ant to

resolving issues in this case. Given that ve1y few witnesses reside within 100 miles of the

comihouse and therefore cannot be compelled to trial, this request for only three additional

depositions is a reasonable request.

        While Defendant opposes Ms. Giuf:fre's request for Comi approval of more than ten

depositions, she has unilaterally noticed more than ten depositions without bothering to seek

approval. As of the date of this filing, Defendant's counsel has issued twelve subpoenas for




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deposition testimony - the almost the exact same number Ms. Giuffre is seeking .6 Defendant

cannot credibly oppose Ms. Giuffre 's additional depositions while she, herself, is hy ing to take

more than ten without leave of court. 7

          It is plain why Defendant does not want these depositions to go fo1ward. . . . .,

                 - - testimony was ha1mful to Defendant's case, and the additional

depositions will provide further evidence that Defendant acted as Jeffrey Epstein's madam,

proving the ti11th of Ms. Giuffre's statements that Defendant proclaimed publically as "obvious

lies."

Il.       MS. GIUFFRE IS SEEKING IDGHLY RELEVANT TRIAL TESTIMONY.

          All of the people Ms. Giuffre seeks to depose have discoverable and impo1tant

info1mation regarding the elements of Ms. Giuffre's claims. Ms. Giuffre stated that Defendant

recrnited her and other young females for sex with Jeffrey Epstein. The people she now seeks to

depose are all witnesses who can testify to Defendant working essentially as a madam for Jeffrey

Epstein, recrniting young females for Epstein, or conoborate other impo1tant aspects of her

statements. The fact that Defendant recrnited girls, some of which were underage, for Epstein

makes Ms. Giuffre's claim that she was also recrnited by Defendant to ultimately have sex with

Epstein and others more credible - and that Defendant's denials of any involvement in such

recrniting is a bald-faced lie. Witnesses will testify that Defendant's recrnitment and

management of the girls for Jeffrey Epstein was a major aspect of Defendant's job, and that Ms.


6
  Defendant's counsel has taken the deposition testimony of (1) Ms. Giuffre; (2) Ms. Giuffre 's
moth e r -); (3) Ms. Giuffre's f a t h e r - ); and (4) Ms. Giuffre 's physician
(Dr. Olson). Defendant's counsel has noticed the following witnesses for deposition: (5) -
                                                ; (8) a known victim of Jeffrey Epstein; (9) Mr.
Weisfield; (10) Ms. Churcher; (11 )- -; and (12) the 30(b)(6) witness for Victims Refuse
Silence.
7
  Defendant has unilaterally scheduled - without consulting counsel for Ms. Giuffre - at least two
of these depositions for days when depositions of Ms. Giuffre's witnesses have been set.

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Giuffre’s account of her sexual abuse and Defendant’s involvement accords perfectly with other

witnesses’ accounts of what Defendant’s job was for Epstein.8

       That other young females were similarly recruited by the Defendant is evidence that Ms.

Giuffre is telling the truth about her experiences – and thus direct evidence that Defendant

defamed her when calling her a liar. Clearly, if Ms. Giuffre can establish that Defendant’s

modus operandi was to recruit young females for Epstein, that helps corroborate Ms. Giuffre’s

own testimony that Defendant recruited her for the same purposes and in the same manner.

Although the Court need not make a final ruling on this evidentiary issue now, Rule 404(b) itself

makes such testimony admissible. See Fed. R. Evid. 404(b) (other act “evidence may be

admissible for another purpose, such as proving motive, opportunity, intent, preparation, plan,

knowledge, identity, absence of mistake, or lack of accident.”). Indeed, even more specifically

than the general provisions of Rule 404(b), Rule 415 makes these other acts admissible, due to

the fact that those involved in sexual abuse of minors have a strong propensity for repeating

those crimes. See Fed. R. Evid. 415(a)( (“In a civil case involving a claim for relief based on a

party’s alleged sexual assault or child molestation, the court may admit evidence that the party

committed any other sexual assault or child molestation.”).

       Entirely apart from corroborating Ms. Giuffre’s own individual abuse, however,

Defendant fails to recognize that in calling Ms. Giuffre a “liar”, she was attacking all aspects of

Ms. Giuffre’s account – including Ms. Giuffre’s statements that Defendant served generally as a

recruiter of girls for Epstein and that Epstein sexually abused the underage girls that were

8
  Defendant’s specious suggestion that Ms. Giuffre heard about the other girls whom she
recruited for sexual purposes and then decided to “hop on the band wagon” (Defendant’s Resp.
at 8 n.7) tacitly admits that Defendant procured a “band wagon” of girls for Jeffrey Epstein to
abuse. Moreover, Defendant cannot refute the documentary evidence that she was on Epstein
private jet with Ms. Giuffre over 20 times while Ms. Giuffre was a minor – flights that
Defendant is, quite conveniently, now unable to recall. Motion at 5-8.
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brought to him. Thus, in this defamation case, the testimony of these witnesses are admissible

not only to bolster Ms. Giuffre’s testimony about her individual abuse, but because they are

simply part of the body of statements whose truth or falsity is at issue in this case.

       In addition, one of the witnesses that Ms. Giuffre seeks to depose is registered sex

offender Jeffrey Epstein, who stands at the center of the case. Indeed, some of the most critical

events took place in the presence of just three people: Ms. Giuffre, defendant Maxwell, and

Epstein. If Epstein were to tell the truth, his testimony would fully confirm Ms. Giuffre’s

account of her sexual abuse. Epstein, however, may well attempt to support Defendant by

invoking the Fifth Amendment to avoid answering questions about his sexual abuse of Ms.

Giuffre. Apparently privy to her former boyfriend Epstein’s anticipated plans in this regard,9

Defendant makes the claim that it would be a “convoluted argument” to allow Ms. Giuffre to use

those invocations against her. Defendant’s Resp. at 3. Tellingly, Defendant’s response brief

cites no authority to refute that proposition that adverse inference can be drawn against co-

conspirators. Presumably this is because, as recounted in Ms. Giuffre’s opening brief (at pp. 20-

22), the Second Circuit’s seminal decision of LiButti v. United States, 107 F.3d 110, 121 (2d Cir.

1997), squarely upheld the drawing of adverse inferences based on a non-party’s invocation of a

Fifth Amendment right to remain silent. The Second Circuit instructed that, the circumstances of

given case, rather than status of particular nonparty witness, determines whether nonparty

witness' invocation of privilege against self-incrimination is admissible in course of civil

litigation. Id. at122-23. The Second Circuit also held that, in determining whether nonparty

witness’ invocation of privilege against self-incrimination in course of civil litigation and




9
 In discovery, Defendant Maxwell has produced several emails between Epstein and herself
discussing Ms. Giuffre.
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drawing of adverse inferences is admissible, court may consider the following nonexclusive

factors:

           (1) nature of witness’ relationship with and loyalty to party;
           (2) degree of control which party has vested in witness in regard to key facts and subject
           matter of litigation;
           (3) whether witness is pragmatically noncaptioned party in interest and whether
           assertion of privilege advances interests of witness and party in outcome of litigation; and
           (4) whether witness was key figure in litigation and played controlling role in respect to
           its underlying aspects.

Id. at 124-25. Ms. Giuffre will be able to establish that all these factors tip decisively in favor of

allowing an adverse inference. Accordingly, her efforts to depose Epstein, Marcinkova, and

Kellen seek important information that will be admissible at trial.

III.       MS. GIUFFRE’S REQUEST IS TIMELY.

           Defendant also argues that this motion is somehow “premature.” Defendant’s Resp. at

2-3. Clearly, if Ms. Giuffre had waited to file her motion until later, Defendant would have

argued until the matter came too late. The motion is proper at this time because, as of the date of

this filing, fact discovery closes in 17 days (although Ms. Giuffre has recently filed a motion for

a 30-day extension of the deadline). In order to give the Court the opportunity to rule as far in

advance as possible – thereby permitting counsel for both side to schedule the remaining

depositions – Ms. Giuffre brings the motion now. She also requires a ruling in advance so that

she can make final plans about how many depositions she has available and thus which

depositions she should prioritize. 10


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   Defendant tries to find support for her prematurity argument in Gen. Elec. Co. v. Indem. Ins.
Co. of N. Am., No. 3:06-CV-232 (CFD), 2006 WL 1525970, at *2 (D. Conn. May 25, 2006).
However, in that case, the Court found a motion for additional depositions to be premature, in
part, because “[d]iscovery has not even commenced” . . . and the moving party “ha[d] not listed
with specificity those individuals it wishes to depose.” Of course, neither of these points applies
in this case at hand: the parties are approaching the close of fact discovery, and Ms. Giuffre has
provided detailed information about each individual she has deposed already and still seeks to
depose.
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       An additional reason this motion is appropriate now is that, despite Ms. Giuffre 's diligent

pursuit of depositions, many witnesses have cancelled their dates, failed to appear, or wrongfully

evaded service. These maneuvers have fmstrated Ms. Giuffre's ability to take their depositions

in a logical and sequential fashion, complicating the planning of a deposition schedule. For

example, on April 11, 2016, Ms. Giuffre se1ved notice on Defendant's counsel for the deposition

                 , setting it for May 13, 2016. Nearly a month later, just a few days before that

properly noticed deposition, Defendant's counsel requested that it be rescheduled, and, therefore,

that deposition did not take place until June 10, 2016. Additionally, three other impo1iant

witnesses evaded Ms. Giuffre's repeated effo1is to se1ve them. It took Ms. Giuffre's motion for

alternative se1vice (DE 160) to convince Jeffrey Epstein to allow his attorney to accept se1vice of

process. The Comi also has before it Ms. Giuffre's motion to se1ve Sarah Kellen and Nadia

Marcinkova by alternative se1vice. These witnesses' evasion of se1vice delayed the taking of

their depositions, and, as of the date of this filing, none have been deposed yet.

                                          CONCLUSION

       For all these reasons, Ms. Giuffre should be allowed to take three more depositions than

the presumptive ten deposition limit - a total of thitieen depositions.

Dated: June 14, 2016.

                                              Respectfully Submitted,

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11
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of June, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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